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6    ATTORNEY FOR DEFENDANT
7    THEODORE R. OHAGEN
8

9                  IN THE UNITED STATES DISTRICT COURT FOR THE
10
                            EASTERN DISTRICT OF CALIFORNIA
11

12

13

14   UNITED STATES OF AMERICA,      )            CR.NO.S 12-451-KJM
                                    )
15
     PLAINTIFF,                     )            STIPULATION BETWEEN THE
16                                  )            PARTIES TO MODIFY THE
17                  v.              )            PRETRAIL RELEASE
                                    )            CONDITIONS OF DEFENDANT
18
     THEODORE R. OHAGEN, et al.,    )            THEODORE R. OHAGEN
19                                  )
     DEFENDANTS.                    )
20
                                    )
21   _______________________________)
22
           Plaintiff, United States of America, represented by Assistant United States
23

24   Attorney Michael D. McCoy, and counsel for defendant THEODORE R.
25
     OHAGEN, attorney James R. Greiner, hereby agree and stipulate that the pre-trial
26

27
     release conditions of the defendant may and can be modified as follows:

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                                                 1
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1                      1- The pre-trial release condition of curfew is no longer
2
                           required and it is agreed this pre-trial release condition can
3

4                          be stricken from the pre-trial release conditions;
5
                       2- The pre-trial release condition of having a third party
6

7                          custodian is no longer required and it is agreed that this pre-
8
                           trial release condition can be stricken from the pre-trial
9

10
                           release conditions.

11        It is so agreed and stipulated to by the parties.
12
          In addition, pre-trial is in agreement with this request.
13

14                                   BENJAMIN B. WAGNER
                                     UNITED STATES ATTORNEY
15
     DATED: November 19, 2013
16                                   /s/ MICHAEL D. McCOY
17                                   _____________________________________
                                     Michael D. McCoy
18
                                     Assistant United States Attorney
19

20

21                                   LAW OFFICES OF JAMES R. GREINER
22
     DATED: November 19, 2013
23

24                                   /s/ JAMES R. GREINER
                                     ____________________________________
25
                                     JAMES R. GREINER
26                                   ATTORNEY FOR DEFENDANT
27
                                     Theodore R. Ohagen

28

                                                  2
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1                                             Order
2

3
           The Court having read and considered the agreement and stipulation
4

5
     between the parties, hereby makes the following Order

6                      1- The pre-trial release condition of curfew is no longer
7
                          required and it is stricken from the pre-trial release
8

9                         conditions of the defendant Theodore R. Ohagen
10
                       2- The pre-trial release condition of having a third party
11

12                        custodian is no longer required and it is stricken from the
13
                          pre-trial release conditions of the defendant Theodore R.
14
                          Ohagen.
15

16         IT IS SO ORDERED.
17
           Dated: November 20, 2013
18

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